              Case 1:08-cr-00356-SDG-ECS Document 975 Filed 01/16/13 Page 1 of 8




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             ZULEY SANCHEZ,                        :   MOTION TO VACATE
             BOP No. 62845-019,                    :   28 U.S.C. § 2255
                  Movant,                          :
                                                   :   CIVIL ACTION NO.
                   v.                              :   1:12-CV-4287-WSD-ECS
                                                   :
             UNITED STATES OF AMERICA,             :   CRIMINAL ACTION NO.
                  Respondent.                      :   1:08-CR-356-13-WSD-ECS

                               FINAL REPORT AND RECOMMENDATION

                   This matter is before the Court on Zuley Sanchez’s pro se

             Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

             Sentence by a Person in Federal Custody.         [Doc. No. 970].     Because

             it   plainly   appears   from   the   motion   and   the   record   of   prior

             proceedings that Ms. Sanchez is not entitled to relief, the

             undersigned recommends that her motion be summarily dismissed and

             that no certificate of appealability be issued.

                   In 2008, Ms. Sanchez was indicted for drug trafficking and

             money laundering offenses.       See [Doc. Nos. 1, 130].       According to

             Ms. Sanchez, “[d]uring the investigation, . . . agents seized over

             $20 million, 223 kilos of cocaine, and almost 7000 kilos of

             marijuana.”    [Doc. No. 970-1 at 5].       Thirty-five other defendants

             were listed along with Ms. Sanchez in the superseding indictment.

                  [Doc. No. 130].

                   This complex, multi-defendant case was initially assigned to

             the Honorable Beverly B. Martin.          Judge Martin sentenced a large




AO 72A
(Rev.8/82)
              Case 1:08-cr-00356-SDG-ECS Document 975 Filed 01/16/13 Page 2 of 8




             number of Ms. Sanchez’s co-defendants who pled guilty relatively

             early in the proceedings.         See, e.g., [Doc. Nos. 582, 594, 595,

             596, 597, 604, 605, 606, 609, 617, 619, 624, 625, 626, 630, 631,

             653, 656, 660, 661, 685].

                     After Judge Martin was elevated to the United States Court of

             Appeals for the Eleventh Circuit, this case was reassigned to the

             Honorable William S. Duffey, Jr.             See [Dkt. Entry dated Jan. 25,

             2010].    Almost two years later, in November 2011, Ms. Sanchez pled

             guilty to the money laundering count of the superseding indictment.

             In her negotiated plea agreement, Ms. Sanchez waived her right to

             appeal or collaterally attack her sentence in all but two very

             limited circumstances.      See [Doc. No. 826-1].

                     Before sentencing, Ms. Sanchez’s attorney filed a motion for

             a downward variance that described in detail the hardships she had

             faced    in   life,   including   her       family’s   extreme   poverty,   the

             disappearance of her father when she was a child, her mother’s

             epilepsy and disfiguring injury by fire, an attempted rape by a

             family acquaintance, and a rape by the “coyote” who brought her

             illegally into the United States.            See [Doc. No. 846].   The motion

             further described how Ms. Sanchez was drawn at a tender age into

             the drug trafficking and money laundering conspiracy and how other

             members of that conspiracy, at one point, sought to have her

             executed.     See [id.].

                                                     2




AO 72A
(Rev.8/82)
              Case 1:08-cr-00356-SDG-ECS Document 975 Filed 01/16/13 Page 3 of 8




                  There is no question that these facts were considered by Judge

             Duffey and weighed in Ms. Sanchez’s favor when he sentenced her.

             See [Doc. No. 896 at 48 (“One of the things unique to this case is

             this woman was pretty young and I don’t know many people that have

             had the personal tragedies in their background that she’s had.”)].

             Nor is there any question that Judge Duffey was “trying very hard

             to be fair in a case that [he] inherited” [id. at 47] by sentencing

             Ms. Sanchez in a manner that reflected her relative culpability in

             the larger conspiracy, in light of the sentence precedents already

             set by Judge Martin.    Indeed, Judge Duffey noted that although he

             likely would not have varied downward from the applicable 41 to 51

             month guideline range for Ms. Sanchez if he were sentencing her on

             a clean slate [id. at 37, 50, 54], he felt constrained to do so in

             light of the “generous” variances Judge Martin had awarded to

             defendants she had sentenced earlier [id. at 38, 45, 50-51].

             Consequently, Ms. Sanchez was sentenced to a 32-month term of

             imprisonment, 9 months below        the lower end of her guideline

             sentencing range.     See [id. at 52; Doc. No. 857].

                  Nonetheless, Ms. Sanchez filed a pro se notice of appeal.

             [Doc. No. 866].     Because Ms. Sanchez’s attorney could discern no

             appealable   issue,    he   filed   a       brief   pursuant   to   Anders   v.

             California, 386 U.S. 738 (1967).                After close scrutiny, the

             Eleventh Circuit concluded that its “independent review of the

                                                     3




AO 72A
(Rev.8/82)
              Case 1:08-cr-00356-SDG-ECS Document 975 Filed 01/16/13 Page 4 of 8




             entire record reveals that counsel’s assessment of the relative

             merit of the appeal is correct” and that there were “no arguable

             issues of merit.”     See [Doc. No. 943 at 1-2].

                   Ms. Sanchez then filed her § 2255 motion.              [Doc. No. 970].

             Ms.   Sanchez   now   contends   that   she   was   denied    the   effective

             assistance of counsel because her attorney “fail[ed] to familiarize

             himself with ‘cultural assimilation’ as grounds to request a

             sentence mitigation during the sentencing hearing.”              [Id. at 4].

             For the following reasons, Ms. Sanchez is not entitled to relief.

                   First, as an initial matter, Ms. Sanchez has waived her right

             collaterally to attack her sentence in a § 2255 proceeding.               See

             [826-1 at 8-9]. In the Eleventh Circuit, “sentence appeal waivers,

             made knowingly and voluntarily, are enforceable.” United States v.

             Bushert, 997 F.2d 1343, 1345 (11th Cir. 1993); see also Williams v.

             United States, 396 F.3d 1340, 1342 (11th Cir. 2005) (sentence

             appeal waiver enforced in a collateral proceeding).             “A waiver of

             the right to appeal includes a waiver of the right to appeal

             difficult or debatable legal issues - indeed, it includes a waiver

             of the right to appeal blatant error.” United States v. Howle, 166

             F.3d 1166, 1169 (11th Cir. 1999).        Such waivers are upheld where

             “(1) the district court specifically questioned the defendant

             concerning the sentence appeal waiver . . . or (2) it is manifestly

             clear from the record that the defendant otherwise understood the

                                                 4




AO 72A
(Rev.8/82)
              Case 1:08-cr-00356-SDG-ECS Document 975 Filed 01/16/13 Page 5 of 8




             full significance of that waiver.”           Bushert, 997 F.2d at 1351.

             These requirements are met in this case.1            Ms. Sanchez’s § 2255

             motion is therefore subject to summary dismissal on this basis.

                   Second, even if Ms. Sanchez could bypass her collateral attack

             waiver, the issue she raises in her § 2255 motion is without merit.

             Her counsel’s performance neither fell below an objective standard

             of reasonableness nor resulted in prejudice, so she did not receive

             the   ineffective   assistance   of       counsel.    See   Strickland   v.

             Washington, 466 U.S. 668 (1984). “Cultural assimilation” refers to

             a sentencing factor that may result in a downward departure or

             downward variance in illegal re-entry cases.           See generally U.S.

             Sentencing Guidelines Manual § 2L1.2, cmt. n. 8; see also United

             States v. Sanchez-Valencia, 148 F.3d 1273, 1274 (11th Cir. 1998).

             Ms. Sanchez pled guilty to money-laundering, not illegal re-entry.

             “Cultural assimilation” is inapplicable, and her counsel did not

             provide objectively unreasonable assistance by omitting any mention

             of this particular term-of-art during sentencing.




                   1
                    Ms. Sanchez’s wholly conclusory assertion that “the absence
             of any knowing and intelligent waiver by Mr. [sic] Sanchez of her
             right to bring this motion” [Doc. No. 970-1 at 5] is inadequate to
             overcome the collateral attack waiver in her negotiated plea
             agreement in light of Judge Duffey’s close questioning of Ms.
             Sanchez regarding that waiver during her change of plea hearing, see
             [Doc. No. 894 at 31-32].

                                                   5




AO 72A
(Rev.8/82)
              Case 1:08-cr-00356-SDG-ECS Document 975 Filed 01/16/13 Page 6 of 8




                  Moreover, to the extent that Ms. Sanchez means by the term

             “cultural assimilation” that her counsel should have argued and

             Judge Duffey should have considered the personal hardships she had

             faced growing up, see [Doc. No. 970-1 at 15-17], it is clear from

             the record that both of them did so, see [Doc. No. 846 passim &

             Doc. No. 896 at 48].        Finally, it is also clear from the record

             that Judge Duffey made a painstaking effort to craft a sentence for

             Ms. Sanchez that reflected all the factors under 18 U.S.C. § 3553,

             including not only the history and characteristics of Ms. Sanchez,

             but also her relative culpability within the larger conspiracy in

             this complex, multi-defendant case.

                  Indeed, Ms. Sanchez benefitted from a downward departure that

             Judge Duffey awarded her to maintain proportionality with the

             sentences that Judge Martin had earlier imposed on many of Ms.

             Sanchez’s co-defendants.       See [Doc. No. 896 at 37-38, 45, 50-52,

             54]. Consequently, Ms. Sanchez was sentenced to a 32-month term of

             imprisonment, 9 months below         the lower end of her guideline

             sentencing range.     See [id. at 52; Doc. No. 857].             Because Ms.

             Sanchez simply cannot “show that there is a reasonable probability

             that, but for counsel’s unprofessional errors, the result of the

             proceeding   would   have    been   different”   and   thereby    “undermine

             confidence in the outcome,” Strickland, 466 U.S. at 695, she cannot

             demonstrate prejudice.       Ms. Sanchez’s ineffective assistance of

                                                   6




AO 72A
(Rev.8/82)
              Case 1:08-cr-00356-SDG-ECS Document 975 Filed 01/16/13 Page 7 of 8




             counsel claim, therefore, is unavailing because she can demonstrate

             neither objectively unreasonable assistance nor prejudice.

                  When    “it   plainly   appears   from    the   motion,   any   attached

             exhibits, and the record of prior proceedings that the moving party

             is not entitled to relief, the [Court] must dismiss the motion.”

             28 U.S.C. foll. § 2255, Rule 4(a).             According, the undersigned

             RECOMMENDS that Ms. Sanchez’s § 2255 motion [Doc. No. 970] be

             DISMISSED.

                  Because “the motion and the files and records of the case

             conclusively show that the prisoner is entitled to no relief,” no

             evidentiary hearing is required.           28 U.S.C. § 2255(b).

                  In a § 2255 proceeding, this Court “must issue or deny a

             certificate of appealability when it enters a final order adverse

             to the applicant.”     28 U.S.C. foll. § 2255, Rule 11(a).           A § 2255

             movant “cannot take an appeal unless a circuit justice or a circuit

             or district judge issues a certificate of appealability under 28

             U.S.C. § 2253(c).”     Fed. R. App. P. 22(b)(1).         “A certificate of

             appealability may issue . . . only if the applicant has made a

             substantial showing of the denial of a constitutional right.”             28

             U.S.C. § 2253(c)(2).     To make a substantial showing of the denial

             of a constitutional right, a § 2255 movant must demonstrate “that

             reasonable jurists could debate whether (or, for that matter, agree

             that) the petition should have been resolved in a different manner

                                                    7




AO 72A
(Rev.8/82)
              Case 1:08-cr-00356-SDG-ECS Document 975 Filed 01/16/13 Page 8 of 8




             or that the issues presented were adequate to deserve encouragement

             to proceed further.”      Miller-El v. Cockrell, 537 U.S. 322, 336

             (2003) (citations and quotation marks omitted).         Ms. Sanchez has

             not demonstrated that she is entitled to federal habeas relief or

             that the issue is reasonably debatable.      The undersigned therefore

             RECOMMENDS that a Certificate of Appealability be DENIED in this

             case.

                     The Clerk is DIRECTED to terminate the referral of this case

             to the undersigned.

                     SO RECOMMENDED AND DIRECTED, this 16th day of January, 2013.



                                              S/ E. Clayton Scofield III
                                              E. CLAYTON SCOFIELD III
                                              UNITED STATES MAGISTRATE JUDGE




                                                 8




AO 72A
(Rev.8/82)
